      Case 4:12-cr-00170-SWW           Document 295        Filed 02/23/16      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

vs.                              NO. 4:12CR00170-006 SWW

KRISTIAN HOGAN                                                              DEFENDANT

                                            ORDER

       The above entitled cause came on for hearing February 23, 2016 on government’s

superseding petition to revoke the supervised release previously granted this defendant in the

United States District Court for the Eastern District of Arkansas. Based upon the statements of

counsel and the admissions of defendant, the Court found that defendant has violated the conditions

of supervised release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked, granting government’s superseding petition

[doc #286]. Defendant shall serve a term of imprisonment of FOURTEEN (14) MONTHS in the

custody of the Bureau of Prisons. The Court recommends that defendant be incarcerated in Ft.

Worth, Texas for the treatment programs, or in El Reno, Oklahoma to be close to family; and that

defendant participate in substance abuse treatment programs and educational/vocational programs

during incarceration.

       There will be NO supervised release to follow.

       Defendant remanded to the custody of the United States Marshal.

       IT IS SO ORDERED this 23rd ay of February 2016.

                                                     /s/Susan Webber Wright

                                                     United States District Judge
